CRIMINAL CASE COVER SHEET U.S. ATTORNEY'S OFFICE

 

Place of Offense (City & County): Knoxville, Knox
Defendant Information:

Juvenile Yes_X%X No Matter tobe Sealed: X Yes No

 

Defendant Name: SZUHSIUNG HO a/k/a ALLEN HO

 

 

 

 

 

 

Interpreter: No Yes Y Language — Chinese (Mandarin)
Total # of Counts: 2 Petty Misdemeanor (Class ) X Felony
ORIGINAL Count(s)
U.S.C. Citation(s) and Description of Offense Charged
Set 1 42 U.S.C. §§ 2077(b) and 2272(a), Conspiracy to illegally develop 1

special nuclear material outside the United States

 

Set2 |18U.S.C. § 951, Conspiracy to illegally act as an unregistered agent of 2
a foreign government

(Use tab key after entering counts to create additional rows)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SUPERSEDING INDICTMENT New count? | New Count Old
U.S.C. Citation(s) and Description of YorN # Count #
Offense Charged (if
applicable)
Set 1
(Use tab key after entering counts to create additional rows)

Current Trial Date (if set): before Judge
Criminal Complaint Filed: No Yes Case No.
Related Case(s):
Case Number Defendant's attorney How related
Criminal Informations:
Pending criminal case: No Yes Case No.
New Separate Case Supersedes Pending Case

Name of defendant’s attorney:

 

Retained: Appointed:

Date: 4/5/16 Signature of AUSA: Cle . CEL)

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